Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 1 of 10 PageID #:149
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 2 of 10 PageID #:150
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 3 of 10 PageID #:151
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 4 of 10 PageID #:152
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 5 of 10 PageID #:153
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 6 of 10 PageID #:154
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 7 of 10 PageID #:155
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 8 of 10 PageID #:156
Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 9 of 10 PageID #:157
   Case: 1:20-cv-06805 Document #: 20 Filed: 01/08/21 Page 10 of 10 PageID #:158




                                CERTIFICATE OF SERVICE


       I, John W. Chwarzynski Jr., an attorney, hereby certify that on January 8, 2021, I

electronically filed the above motion with the Court’s CM/ECF system, which simultaneously sent

an electronic copy of the same to all counsel of record.



                                                     /s/ John W. Chwarzynski Jr.
